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                              UNITED STATES OF AMERICA
        IN THE WESTERN DISTRICT OF MICHIGAN – SOUTHERN DIVISION
Derek Antol, individually and as next friend of              File No: 1:17-cv-613
DSAII, a minor, and Derek S. Antol, Jr., and
Tryston Antol,
       Plaintiffs,
v.
Adam Dent, Kate Strauss,                            Hon. Janet T. Neff
Casey Bringedahl, Casey Trucks,                     U.S. District Court Judge
Pete Kutches, and Western Michigan
Enforcement Team, a public
body organized under the laws of the
State of Michigan,
        Defendants,
___________________________________________________________________/
J. Nicholas Bostic (P40653)          Allan C. Vander Laan (P33893)
Attorney for Plaintiffs              Curt A. Benson (P38891)
909 N. Washington Ave.               Cummings, McClorey, Davis & Acho
Lansing MI 48906                     Attorneys for Defendants Adam Dent,
517-706-0132                         Kate Strauss, Casey Bringedahl & Peter Kutches
                                     2851 Charlevoix Dr., S.E. - Suite 327
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525 W. Ottawa St., P.O. Box 30736    Douglas M. Hughes P30958
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                                                                               /

     PLAINTIFFS' CONSOLIDATED RESPONSE TO PRE-MOTION CONFERENCE
          REQUESTS [R. 39, Trucks; R. 40, Dent, Straus, Bringedahl, Kutches]

       Plaintiffs respond to the pre-motion conference requests as follows:

       1. Plaintiff Derek Antol's conduct in 2014 at Deuces Wild Smoke Shop was not in

violation of state law and state law enforcement officers are not authorized to enforce federal law

unless working in authorized conjunction with federal law enforcement.

       2. The search warrants obtained in 2014 were the result of knowledge gained through


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the unlawful entry into a portion of Deuces Wild.

       3. Defendant Straus' reliance on the prosecutor's (thus far uncorroborated claim) is

irrelevant as the prosecutor has no more authority to order the police to destroy private property

than the police have to engage in that conduct. Defendant Straus has an independent duty to obey

the Constitution.

       4. Police officers only have the authority to secure a dwelling where the possible

destruction of evidence is imminent and properly justified. The police in this case showed up in a

marked car and created the exigency thereby precluding their use of this exception to the warrant

requirement.

       5. DSAII was detained at gunpoint in his bedroom prior to the warrant being signed by

the state magistrate therefore the conduct is not protected by the warrant.

       A claim has been stated on the face of the complaint and will be supported by appropriate

affidavits. A significant amount of disputed facts will preclude entitlement to qualified

immunity. Defendants’ motion will be futile.

                                      RELIEF REQUESTED

       WHEREFORE, Plaintiffs respectfully request this Honorable Court decline to allow the

Defendants to file a motion for summary judgment.

6/7/2018                                              /s/ J. Nicholas Bostic
                                                      J. Nicholas Bostic P40653
                                                      Attorney for Plaintiffs

                                 CERTIFICATE OF SERVICE

       I, J. Nicholas Bostic, undersigned attorney for Plaintiff, certify that, on the 7th day of

June, 2018, I served a copy of Plaintiffs’ Response to Pre-Motion Conference Request of Melissa




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Harris on all counsel of record by electronic facsimile by using the ECF system which will send

notification of such filing to all counsel of record.

                                                        /s/ J. Nicholas Bostic
                                                        J. Nicholas Bostic P40653
                                                        Attorney for Plaintiff
                                                        909 N. Washington Ave.
                                                        Lansing, MI 48906
                                                        517-706-0132




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